5 ; Case 1:05-cr-10022-.]DT Document 18 Filed 05/20/05 Page 1 of 4 Page|D 18

lN THE UN|TED STATES DlSTR|CT COURT,
FOR THE WESTERN DlSTR|CT OF TENNESSEE,
EASTERN DlVlSlON

 

 

UN|TED STATES OF AN|ER|CA, )
)
P|aintlff, )
)
VS. ) NO. 1-05-10022-Tan
)
LAMAR|O HUNT and )
LAKESA BORNER,
§ MoTloN eRANTl;_o
Defendants. ) DATE:
_..Q Si_n

 

Thomas Anderson
NOTlCE OF APPEARANCE AND MOT|ON F¢DR ll

 

 

appearance as Attorney of record for Defendant Lakesa Borner. ZS;~`.:»':§

Defendant Lakesa Borner, by and through her attorney of §§l§¢ re
requests that her court appearance, currently scheduled for Friday, |Vlay 20, 2005, at
2:15 p.m. before the Honorab|e Magistrate Thomas S. Anderson, be continued u_nti| the
next available appearance date, or, in the alternative, moved to 3:30 p.m. on Friday,
i\/lay 20, 2005, in order to allow Defendant’s attorney reasonable time to return from a
previously scheduled deposition, as more fully explained below.

|n support of same, Defendant and her attorney would state unto this l-lonorab|e

Court that Defendant’s attorney has a previously scheduled medical deposition in

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with noia ssandror sam mch on §{§£l_@i_ \%

Case 1:05-cr-10022-.]DT Document 18 Filed 05/20/05 Page 2 of 4 Page|D 19

Nashvil|e on Friday, Nlay 20, 2005, at 10:00 a.m., expected to last between two and two
and one-half hours, in a workers’ compensation matter scheduled for trial in the Claims
Commission of the State of Tennessee on June 2, 2005.

WHEREFORE, DEFENDANT RESPECTFULLY REQUESTS this Honorab|e
Court grant this Motion for Continuance, and either move Defendant’s appearance on
Friday, May 20, 2005, at 2115 p.m. to 3:30 p.m., or reschedule Defendant’s appearance

for another day.

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Respectfu|ly bmitted.

  

 

lw“rcl-iELL o ToLLlsoN #015410
Toi|ison Law Firm

Attorney for Defendant Lakesa Borner
P.O. Box11028

Jackson, TN 38308

(731) 668-9886

CERT|F\CATE OF SERV|CE

Comes now the undersigned. and hereby certifies that a copy of the foregoing
Notice oprpearance and Motion for Continuance was served, via fax and regular mail,
upon counsel for Plaintiff, Assistant United States Attorney Jerry Kitchen, 109 S.
Highland Ave., ste. 300 Jackson Tennessee 38301 (731)422-6668 ihisihe 19"‘day
of May, 2005.

 

 

N||TCHELL G. TOI_L|SON

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 1:05-CR-10022 Was distributed by faX, mail, or direct printing on
May 20, 2005 to the parties listed.

 

Mitehell G. Tollison
TOLLISON LAW FIRM
2821 N. Highland Ave.
Ste. A

Jackson, TN 38305

.1 erry R. Kitehen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson, TN 38301

Honorable .1 ames Todd
US DISTRICT COURT

